UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK
RONNIE EDGESTON,

                                         Plaintiff,                   MEMORANDUM OF LAW
             v.
                                                                      Case No. 18-cv-6503
THE CITY OF ROCHESTER, ROCHESTER POLICE
DEPARTMENT, ROCHESTER POLICE OFFICERS PAUL
ROMANO, E. ALEXANDER, MAZURKIEWICZ, AND
THOMAS KIRK,

                                         Defendants.

                                PRELIMINARY STATEMENT

       Plaintiff claims that, on February 11, 2017, defendant officers used excessive force

against him in the course of his arrest. Defendants now move to dismiss plaintiff’s second and

third claims for relief, both of which allege that the City of Rochester was negligent in screening,

hiring, training, retaining and supervising the defendant officers.

                                   STATEMENT OF FACTS

       The following facts are drawn from the complaint, annexed to the Declaration of Patrick

Beath (“Beath Decl.”) as Exhibit A, and are assumed to be true for the purposes of this motion

only. Plaintiff admits that, on February 11, 2017, he fled from police who were attempting to

arrest him. See Complaint ¶ 11. Plaintiff also contends, however, that he ultimately surrendered

to the police and was thereafter subjected to the excessive use of force. Id.

       Plaintiff sets forth three claims for relief, the first for assault/battery/excessive use of

force, and the second and third for the City’s allegedly negligent screening, hiring, training,

retaining and supervision of the defendant officers. Plaintiff explicitly alleges that, at all times,

the individual officers were acting within the scope of their City employment. See Complaint ¶¶

4-7.

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       Defendants now move to dismiss the second and third claims for relief for the reasons set

forth below.

                          STANDARD FOR MOTION TO DISMISS

       “In deciding whether to grant a motion to dismiss for failure to state a claim, the court

must accept the factual allegations contained in the complaint as true, and draw all

reasonable inferences in favor of the plaintiff.” Foster v. Humane Soc’y of Rochester & Monroe

County, Inc., 724 F. Supp. 2d 382, 388 (W.D.N.Y. 2010) (Larimer, J.). “At the same time,

however, ‘a plaintiff's obligation … requires more than labels and conclusions, and a formulaic

recitation of the elements of a cause of action will not do. Factual allegations must be enough to

raise a right to relief above the speculative level.’” Foster, 724 F. Supp. 2d at 382 (quoting Bell

Atlantic Corp. v. Twombly, 550 U.S. 544, 555 (2007)); citing Ashcroft v. Iqbal, 556 U.S. 662,

677-78 (2009)). “Thus, where a plaintiff ‘has not nudged his claims across the line from

conceivable to plausible, his complaint must be dismissed.’” Id. at 388 (quoting Twombly, 550

U.S. at 570). “A ‘plausible’ entitlement to relief exists when the allegations in the complaint

move the plaintiff’s claims across the line separating the ‘conclusory’ from the ‘factual,’ and the

‘factually neutral’ from the ‘factually suggestive.’” Id.       “Although plausibility is not a

‘probability requirement,’ [p]laintiffs must allege facts that permit ‘more than a sheer possibility

that a defendant has acted unlawfully.’” Turkmen v. Hasty, 789 F.3d 218, 233 (2d Cir. 2015)

(quoting Iqbal, 556 U.S. at 678). “In determining the adequacy of a claim under Rule 12(b)(6),

consideration is limited to facts stated on the face of the complaint, in documents appended to

the complaint or incorporated in the complaint by reference, and to matters of which judicial

notice may be taken.” Allen v. Westpoint-Pepperell, Inc., 945 F.2d 40, 44 (2d Cir. 1991).




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                                           ARGUMENT

I.       The Negligent Screening, Hiring, Training, Retaining and Supervision Claims Fail

         Claims for negligent screening, hiring, training, retaining and supervision fail where the

individual officer is alleged to be acting within the scope of his employment. See Velez v. City of

New York, 730 F.3d 128, 136-137 (2d Cir. 2013)(“To maintain a claim against a municipal

employer for the ‘negligent hiring, training, and retention’ of a tortfeasor under New York law, a

plaintiff must show that the employee acted ‘outside the scope of her employment.’”); Lipford v.

City of Rochester, No. 16-CV-6266-FPG, 2017 U.S. Dist. LEXIS 161262, at *15-16 (W.D.N.Y.

Sep. 29, 2017). Here, plaintiff explicitly alleges that defendants were acting in the scope of their

employment at all times. See Complaint ¶¶ 4-7. Accordingly, the second and third claims for

relief fail.1

                                          CONCLUSION

         For the foregoing reasons, defendants respectfully request that the Court grant their

motion for partial dismissal, dismissing the second and third causes of action.


DATED: July 17, 2018                           BRIAN F. CURRAN, CORPORATION COUNSEL

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  Insofar as either of these claims for relief is intended to be one for municipal liability against
the City under 42 U.S.C. § 1983, such a claim would fail as mere negligence is an insufficient
basis for such liability. See Cash v. Cty. of Erie, 654 F.3d 324, 334 (2d Cir. 2011)(noting
municipal liability may be imposed only where “facts demonstrate that the policymaker's
inaction was the result of ‘conscious choice’ and not ‘mere negligence.’”).




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